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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

iMedia Brands, Inc., et al.,1                                          Case No. 23-10852 ([___])

                                             Debtors.                  (Joint Administration Requested)



                DECLARATION OF JAMES ALT IN SUPPORT
            OF DEBTORS’ MOTION FOR ENTRY OF INTERIM AND
        FINAL ORDERS (I) AUTHORIZING POSTPETITION USE OF CASH
      COLLATERAL; (II) GRANTING ADEQUATE PROTECTION TO CERTAIN
     PREPETITION SECURED PARTIES AND C&B NEWCO; (III) SCHEDULING
     A SECOND INTERIM HEARING; AND (IV) GRANTING RELATED RELIEF

         I, James Alt, make this declaration pursuant to 28 U.S.C. § 1746 to the best of my

knowledge, information, and belief:

         1.      I am the Chief Transformation Officer of iMedia Brands, Inc. (“iMedia”)2 and a

Managing Director of Huron Consulting Group, Inc. (“Huron”) with more than 20 years of

experience assisting financially distressed companies implement turnaround strategies. I have

extensive bankruptcy and insolvency related experience, having served in various advisory and

executive roles in chapter 11 bankruptcy and out-of-court restructuring cases over the past

20 years, including: ZGallerie, ToysRUs, GenCanna Global, Roberts50, Amerimark, Capital

Brands, Railworks, Venture Industries, Metropolitan Provisions, Anchor Manufacturing, Unaka

Corporation, and others. Since November 2022, I and others at Huron have worked closely with

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision
    Interactive, Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision
    Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties,
    LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
    (2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
2
    Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such
    terms in the Motion.
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iMedia, each of iMedia’s direct and indirect subsidiaries that are debtors and debtors in

possession (collectively with iMedia, the “Debtors” and, each individually, a “Debtor”), and their

non-debtor subsidiaries (together with the Debtors, the “Company”) to manage the business and

assist the Company as it evaluated strategic transactions and restructuring alternatives. Prior to

the Debtors commencing these chapter 11 cases on June 28, 2023 (the “Petition Date”), I was

appointed by the board of directors of iMedia to the position of Chief Transformation Officer of

each of the Debtors, effective as of April 3, 2023.

        2.      I submit this declaration (the “Declaration”) in support of the Debtors’ Motion for

Entry of Interim and Final Orders (I) Authorizing Postpetition Use of Cash Collateral;

(II) Granting Adequate Protection to Certain Prepetition Secured Parties and C&B Newco;

(III) Scheduling a Second Interim Hearing; and (IV) Granting Related Relief (the “Motion”). In

addition, I submitted the Declaration of James Alt, Chief Transformation Officer of iMedia

Brands, Inc., in Support of the Debtors’ Chapter 11 Petitions and First Day Motions

(the “First Day Declaration”), filed contemporaneously herewith and incorporated herein by

reference.

        3.      In making this Declaration, I relied in part on information and materials that the

Debtors and their advisors supplied to me, and that my colleagues from Huron prepared and

provided to me under my supervision. Unless otherwise indicated, any financial information

contained in this Declaration is unaudited and subject to change but is accurate to the best of my

knowledge.

        4.      I am over the age of 18 years and am authorized to submit this Declaration on

behalf of the Debtors. If called upon to testify, I could and would testify competently to the facts

set forth herein.




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I.      THE DEBTORS HAVE IMMEDIATE NEED FOR ACCESS TO CASH
        COLLATERAL

        5.       Cash is critical to the Debtors’ business enterprise, which consists of a

broad-based portfolio of entertainment, consumer brands, and media commerce services

businesses. Absent the immediate use of Cash Collateral, the Debtors will be unable to make

critical payments to their employees, vendors, and applicable taxing authorities. Without this

ability to use Cash Collateral, the Debtors’ business operations will be severely disrupted at a

critical juncture where they seek to utilize the “breathing spell” provided by chapter 11 to

stabilize operations and preserve and maximize value for all stakeholders.

        6.       In particular, the Debtors require the use of Cash Collateral to pay wages,

benefits, taxes, and other items contemplated by the Debtors’ Interim Budget, annexed to the

Debtors’ proposed interim Cash Collateral order as Annex A. Non-payment will materially and

adversely affect the Debtors’ operations and business relationships and, in all likelihood,

substantially impair the value of the Prepetition Collateral. In particular, the Debtors propose to

use Cash Collateral to pay the following obligations to avoid immediate and irreparable harm to

their chapter 11 estates (the “Estates”) at the outset of these chapter 11 cases:

            Obligation
                                                                  Description
   (projected disbursement / $)
Postpetition Vendor Payments,     “Content Distribution” refers to the carriage cost paid to cable operators in
including Content Distribution    order to keep the Debtors’ broadcast operations on the air. The content
($2.6 million)                    distribution payments contemplated by the Debtors’ Interim Budget refers to
                                  the prepayments required for the Debtors to broadcast in July 2023 on certain
                                  major broadcast carriers. Should the Debtors not make these postpetition
                                  payments, the Debtors may be unable to broadcast and will be “off the air” on
                                  those carriers. As a result, the Debtors will lose their ability to generate
                                  substantial amounts of revenue.

Wage / Benefit Obligations        Debtors have falling due certain wage and benefit obligations to their
($428,000)                        workforce in the interim period, including employee medical claims. Failure
                                  to make these payments could significantly impair the Debtors’ workforce
                                  and cause unnecessary hardship to individuals, and material business
                                  disruption, at the outset of these chapter 11 cases.




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            Obligation
                                                                    Description
   (projected disbursement / $)
Sales Tax Obligations             Debtors have due approximately $2.3 million of sales and trust fund tax
($2.3 million)                    obligations, including obligations arising from ongoing reconciliations and
                                  reporting being undertaken by the Debtors. It is my understanding that these
                                  obligations are “trust fund” obligations held for the benefit of the applicable
                                  state taxing authorities, and failure to pay such obligations may result in the
                                  accrual of penalties, interest, or other liabilities, including potential liability
                                  for the Debtors’ directors and officers.

Insurance Premium Obligations     Refers to financing premium due in connection with the Debtors’ insurance
($732,000)                        policies covering, among other things, general liability, auto liability, workers
                                  compensation liability, umbrella liability, cyber liability, product liability, and
                                  professional liability.


        7.      Accordingly, prior to the Petition Date, the Debtors undertook to negotiate and

obtain the Prepetition ABL Secured Parties’ consent to utilize Cash Collateral to operate the

Debtors’ businesses during these chapter 11 cases. These discussions remain ongoing but, out of

the abundance of caution, the Debtors seek approval from the Court to use Cash Collateral on the

bases set forth in the Motion and herein.

        8.      The Debtors’ proposed immediate use of Cash Collateral is intended to provide

working capital during a limited, two-week period (the “Initial Interim Period”) in order to avoid

immediate and irreparable harm to their businesses. Access to Cash Collateral will permit the

Debtors to operate their businesses, fund operating expenses and the costs of administering these

Estates, preserve the value of the Prepetition Collateral, and pursue a value-maximizing

transaction for the benefit of the Debtors’ stakeholders. Alternatively, failure to obtain access to

Cash Collateral as provided by the Initial Budget, and as set forth above, will result in immediate

and irreparable harm to the Debtors’ Estates absent the relief requested by the Motion.

II.     THE PREPETITION ABL SECURED PARTIES HAVE CONSENTED TO
        CERTAIN USE OF CASH COLLATERAL

        9.      The Prepetition ABL Secured Parties have previously agreed to provide their

consent to the Debtors’ use of Cash Collateral to pay certain sales tax obligations as set forth in



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the Interim Budget. Pursuant to that certain Funding Agreement, dated as of June 20, 2023, by

and between the Prepetition ABL Borrowers, the Prepetition ABL Guarantors, and the

Prepetition ABL Secured Parties (as amended, restated, amended and restated, supplemented, or

otherwise modified from time to time, the “ABL Funding Agreement”), attached to the Motion

as Exhibit B, the Prepetition ABL Secured Parties agreed to, among other things, make certain

cash available to the Debtors through the consensual use of Cash Collateral for the payment of

certain sales tax obligations consistent therewith. Specifically, the ABL Funding Agreement

provides that the ABL Secured Parties “hereby agree[d] to, make funds available to Borrowers in

an amount equal to $3,160,140 to be used solely or the purpose of paying certain sales taxes . . .

pursuant to . . . (y) a Bankruptcy Court approved cash collateral order consented to by the Agent

and Lenders . . . .”     Accordingly, the Prepetition ABL Secured Parties have specifically

consented to the use of Cash Collateral with respect to the applicable tax payments contemplated

by the Initial Budget.

III.   THE PREPETITION ABL SECURED PARTIES ARE                                   ADEQUATELY
       PROTECTED BY A SUBSTANTIAL EQUITY CUSHION

       10.     In addition to the consents already provided by the Prepetition ABL Secured

Parties, those parties are adequately protected here. In particular, the Debtors propose to provide

adequate protection to the Prepetition Secured Parties and C&B Newco LLC (“C&B Newco”)

solely to the extent, if any, of diminution of the Prepetition Secured Parties’ and C&B

Newco’s interests in the Estates’ interest in the collateral securing the Prepetition ABL Credit

Agreement (the “Prepetition ABL Collateral”), the collateral securing the Synacor Promissory

Note (the “Prepetition Synacor Collateral” and, together with the Prepetition ABL Collateral,

the “Prepetition Collateral”), and the Consigned Inventory as of the Petition Date. I understand

that the liens of the Prepetition ABL Secured Parties are secured by a first-priority interest in



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substantially all of the Debtors’ assets, including Cash Collateral. A true and correct copy of the

Debtors’ current borrowing base certificate with respect to their outstanding obligations under

the Prepetition ABL Credit Agreement is attached as Exhibit A.

        11.      I believe the Prepetition ABL Secured Parties are materially oversecured as of the

Petition Date by at least $74.8 million versus an outstanding balance on that debt of

approximately $19.4 million.3 As of June 23, 2023, (i) the book value of the Prepetition ABL

Collateral totals approximately $94.9 million, and (ii) the obligations outstanding under the

Prepetition ABL Credit Agreement total approximately $19.4 million.

        12.      Accordingly, at the outset of these chapter 11 cases, the Prepetition ABL Secured

Parties are protected by a substantial 383.88% cushion in the Prepetition ABL Collateral.

        13.      More specifically, as of June 23, 2023, the Debtors’ accounts receivable totaled

approximately $27.1 million, and the book value of the Debtors’ inventory totaled approximately

$67.7 million.      In other words, the Prepetition ABL Secured Parties are oversecured by a

substantial margin as of the Petition Date, taking into account only the value of accounts

receivable and inventory.

        14.      The Prepetition ABL Secured Parties’ own Borrowing Base (as defined herein)

further establishes the extent to which those parties are significantly oversecured as of the

Petition Date. Pursuant to the Prepetition ABL Credit Agreement, the Debtors’ Borrowing Base

formula is calculated based on applying significant discounts4 to the book value and liquidation

value of certain of the Debtors’ assets, including certain consumer accounts, credit card receipts,


3
    This outstanding balance includes, among other things, an asserted termination fee totaling approximately
    $1.6 million and fees and expenses of the Prepetition ABL Secured Parties’ professionals totaling
    approximately $1.5 million.
4
    Notably, and as discussed in greater detail herein, the significant discounts applied to the Debtors’ assets
    pursuant to the Borrowing Base formula are not consistent with the Debtors’ historical realization rates for such
    assets.



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and inventory.5       In addition, as further “cushion,” the Borrowing Base formula is further

decreased by discretionary reserves established by the Prepetition ABL Agent, which currently

total approximately $11.6 million, of which $8.6 million constitutes the Availability Block under

the Prepetition ABL Credit Agreement.6 The Debtors are therefore unable to borrow up to the

100% value of the notional lending commitments provided by the Prepetition ABL Secured

Parties at any given time precisely because the Prepetition ABL Secured Parties’ borrowing

formula provides for a substantial equity cushion.

        15.      According to the Prepetition ABL Lenders’ Borrowing Base formula, as of

June 23, 2023, the Debtors’ outstanding loan balance under the ABL Credit Agreement was not

supposed to exceed $19.5 million. As of Petition Date, the Debtors had borrowed approximately

$19.4 million, which was 0.51% below the Borrowing Base and equivalent to only 20.67% of the

5
    Pursuant to the Prepetition ABL Credit Agreement, “Borrowing Base” means “as of any date of determination,
    the Dollar Equivalent Amount as of such date of determination of:
(a) the aggregate amount of Eligible Consumer Accounts of each Borrower multiplied by the Accounts Advance
    Rate (i.e., 85%); plus
(b) the aggregate amount of In-transit Credit Card Receipts multiplied by the Accounts Advance Rate (i.e., 85%)
    (but in no event to exceed the In-transit Credit Card Receipts Sublimit); plus
(c) the aggregate amount of Eligible Portal Accounts of Portal multiplied by the Portal Accounts Advance Rate
    (i.e., 80%) (but in no event to exceed the Portal Accounts Sublimit); plus
(d) the Net Orderly Liquidation Value of the applicable Eligible Inventory multiplied by the Inventory Advance
    Rate (i.e., 85%) (but not to exceed the sublimit applicable to all Inventory); plus
(e) the Net Orderly Liquidation Value of the applicable Eligible Slow Moving Inventory multiplied by the
    Inventory Advance Rate (i.e., 85%) (but not to exceed the sublimit applicable to Eligible Slow Moving
    Inventory); plus
(f) the Net Orderly Liquidation Value of Eligible In-Transit Inventory multiplied by the Inventory Advance Rate
    (i.e., 85%) (but not to exceed the sublimit applicable to Eligible In-Transit Inventory); minus
(g) all Reserves which Agent has established pursuant to Section 1.2; minus
(h) the Availability Block.”
6
    Pursuant to the Prepetition ABL Credit Agreement, “Availability Block” means an amount equal to (a) during
    the period commencing on the Tenth Amendment Effective Date and ending on April 30, 2023, $12,175,000,
    (b) during the period commencing on May 1, 2023 and ending on May 31, 2023, $12,375,000, (c) during the
    period commencing on June 1, 2023 and ending on June 30, 2023, $12,575,000, and (b) at all times on and after
    July 1, 2023, $13,000,000. As noted above, the “Availability Block” imposed by the Borrowing Base is
    $8.6 million, and the discretionary reserves “which the Agent has established pursuant to Section 1.2” of the
    Prepetition ABL Credit Agreement total $11.6 million, which includes the Availability Block.



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book value of the Debtors’ eligible accounts receivable and inventory.                              Further, the

Debtors’ historical realization rates on eligible accounts and inventory typically exceed the

80-85% advance rates built into the Borrowing Base formula.7 In addition, the Prepetition ABL

Secured Parties have a first-priority lien in other receivables and inventory notwithstanding that

they are not included in the Borrowing Base (the “Excluded Borrowing Base Collateral”). The

value of the Excluded Borrowing Base Collateral totaled approximately $23.7 million,8 as of

June 23, 2023, based on the book value of such assets. As a result, the value of the Prepetition

ABL Collateral securing the claims of the Prepetition ABL Secured Parties substantially exceeds

the $19.4 million loan balance by a significant margin.

        16.      During the Initial Interim Period, based on the Interim Budget, the Debtors and

their professionals anticipate that the balance of the Prepetition ABL Collateral may decline by

approximately $2.8 million, which would decrease the Prepetition ABL Secured Parties’ equity

cushion from 383.88% to 372.93% of the balance of the Prepetition ABL Collateral. Therefore,

the Prepetition ABL Secured Parties will maintain their substantial equity cushion during the

proposed budget period.

        17.      Additionally, the Debtors have been actively negotiating a going concern

transaction that I believe would provide for the payment, in full, of the Prepetition ABL Facility.

These discussions remain ongoing, and the relief requested with respect to the Debtors’ use of

Cash Collateral will, I believe, facilitate the Debtors’ ability to complete this transaction. Indeed,

the availability of this going concern transaction underscores the extent to which the Prepetition

ABL Secured Parties are significantly oversecured as of the Petition Date.




7
    See n. 5, supra.
8
    This consists of approximately $10.5 million of accounts receivable and $13.2 million of inventory.


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       18.     Finally, pursuant to that certain Guarantee Agreement, dated as of

February 28, 2023, by and between iMedia & 123tv Holding GmbH, 123tv Invest GmbH,

123tv Holding GmbH, 123tv Beteiligungs GmbH, 1-2-3.tv GmbH, and 1-2-Play GmbH

(collectively, the “Non-Debtor ABL Guarantors”), as guarantors, and the Prepetition ABL

Agent, as beneficiary (as amended, restated, amended and restated, modified, supplemented, or

extended from time to time, the “ABL Guarantee Agreement”), the obligations arising under the

Prepetition ABL Credit Agreement are guaranteed by the Non-Debtor ABL Guarantors. For

reference, iMedia purchased the Non-Debtor ABL Guarantors’ business for EUR 80.0 million

(or $94.5 million based on the September 13, 2021 exchange rate) in September 2021.

       19.     In addition to the Prepetition ABL Secured Parties’ equity cushion, as well as the

value of the guarantees in favor of the Prepetition ABL Secured Parties provided by the

Debtors’ non-Debtor affiliates, the Debtors propose additional forms of adequate protection for

the Prepetition ABL Secured Parties and Synacor. These additional forms of adequate protection

include, as applicable: (a) additional liens on the Debtors’ unencumbered assets existing as of the

Petition Date (the “Unencumbered Assets”) and replacement liens upon the Prepetition

Collateral to the extent, if any, of diminution in value of the Prepetition Secured

Parties’ respective interests in the Estates’ interest in the Prepetition Collateral as of the Petition

Date; (b) superpriority administrative expense claims for any such diminution in value;

(c) financial reporting; and (d) with respect to C&B Newco, segregation of proceeds received by

the Debtors on account of the sale of the Consigned Inventory. Therefore, even if the value of

the Prepetition Collateral and Consigned Inventory decreases during the Initial Interim Period,

the Prepetition Secured Parties and C&B Newco are adequately protected through, among other




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things, the beforementioned adequate protection provided by the Debtors and the

Debtors’ granting of adequate protection liens on the Unencumbered Assets.

IV.    THE DEBTORS ARE PROPOSING ONLY A LIMITED USE OF CASH
       COLLATERAL DURING THE INITIAL INTERIM PERIOD TO AVOID
       IMMEDIATE AND IRREPARABLE HARM

       20.     Use of Cash Collateral is necessary to enable the Debtors to pay their

ordinary-course operating expenses, continue to operate the business as a going concern, finance

these chapter 11 cases, and pursue a value-maximizing postpetition sale process. If the Debtors

are unable to access the Cash Collateral, they may be forced into an immediate, fire-sale

liquidation, which would significantly reduce the expected proceeds from any sale process, and

significantly reduce recoveries for all stakeholders.

       21.     At the same time, the Debtors’ requested relief is narrow: The Debtors are

proposing to use Cash Collateral on a limited basis in the interim period solely to the extent

necessary to avoid immediate and irreparable harm to the Debtors’ Estates at the outset of these

chapter 11 cases. As noted above, the Debtors’ proposed expenditures consist of a narrow band

of expenditures necessary to avoid immediate and irreparable harm to these chapter 11 Estates.

       22.     I further believe this limited use of Cash Collateral will preserve, and not impair,

the value of the collateral securing the Prepetition ABL Secured Parties’ claims.              The

Debtors’ proposed Interim Budget is established to preserve the going-concern value of the

Debtors’ businesses and solely provides for the payment of expenditures essential thereto.

Indeed, the Debtors’ proposed payments to content distributors will facilitate the Debtors’ going

concern value and also their ability to sell inventory in the ordinary course of business.

Conversely, failure to make such payments could literally take the Debtors “off the air” in major

markets and, therefore, both materially disrupt operations and impair collateral value at the

outset of these chapter 11 cases. Preserving the value of the Debtors’ businesses, and thus the


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Prepetition ABL Collateral, should maintain the Prepetition ABL Secured Parties’ equity cushion

during the Initial Interim Period, as the Debtors seek to stabilize their businesses in chapter 11

and pursue a value-maximizing transaction for the benefit of the Debtors’ Estates and their

stakeholders, including the Prepetition ABL Secured Parties.



                          [Remainder of page intentionally left blank]




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       23.    I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge, information, and belief.

Executed this 29th day of June, 2023             /s/ James Alt
                                                 James Alt
                                                 Chief Transformation Officer
                                                 iMedia Brands, Inc.
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                      EXHIBIT A

               Borrowing Base Certificate
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ǀĂŝůĂďůĞͬZĂĨƚĞƌĐĂƉ                                                  Ψϭϯ͕ϵϭϭ͕ϭϮϭ                    Ψϴϰϴ͕ϵϮϱ                    Ψϭ͕ϴϱϱ͕ϵϭϰ                                Ψϭϲ͕ϲϭϱ͕ϵϲϬ

                                                                                                         /ŶͲůŝŶĞ            ^ůŽǁDŽǀŝŶŐ                                         dKd>
'ƌŽƐƐ/ŶǀĞŶƚŽƌǇƐŽĨϲͬϭϳͬϮϯ                                                                 Ψϰϱ͕ϭϰϲ͕ϭϲϯ         ΨϮϮ͕ϱϱϴ͕ϮϲϬ                                       ϲϳ͕ϳϬϰ͕ϰϮϯ
>ĞƐƐ͗
  ^ĞĞƚƚĂĐŚĞĚ                                                                                           ϭϯ͕ϮϯϬ͕ϴϬϯ                                                                ϭϯ͕ϮϯϬ͕ϴϬϯ
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/ŶĞůŝŐŝďůĞ/ŶǀĞŶƚŽƌǇ                                                                                         Ψϭϯ͕ϮϯϬ͕ϴϬϯ                     ΨϬ            ΨϬ   ΨϬ                 Ψϭϯ͕ϮϯϬ͕ϴϬϯ
ůŝŐŝďůĞ/ŶǀĞŶƚŽƌǇ                                                                           ϯϭ͕ϵϭϱ͕ϯϲϭ ϮϮ͕ϱϱϴ͕ϮϲϬ                         ϱϰ͕ϰϳϯ͕ϲϮϭ
EK>sйƐƚŝŵĂƚĞKŶůǇ                                                                                            ϰϱ͘ϵϬй                 ϭϯ͘ϮϬй
                                                                                                             ϴϱ͘Ϭй                     ϴϱ͘Ϭй
ĨĨĞĐƚŝǀĞĚǀĂŶĐĞZĂƚĞ                                                                                      ϯϵ͘Ϭй                     ϭϭ͘Ϯй                                           Ϯϳ͘ϱй
ǀĂŝůĂďůĞ/ŶǀďĞĨŽƌĞĐĂƉ                                                                                ΨϭϮ͕ϰϱϮ͕ϭϰϬ               ΨϮ͕ϱϯϭ͕Ϭϯϳ                                    Ψϭϰ͕ϵϴϯ͕ϭϳϳ
                                             /ŶǀĞŶƚŽƌǇĂƉ ϰϬ͕ϬϬϬ͕ϬϬϬ                                            ΨϮ͕ϬϬϬ͕ϬϬϬ                           
ǀĂŝůĂďůĞ/ŶǀĂĨƚĞƌĐĂƉ                                                                                ΨϭϮ͕ϰϱϮ͕ϭϰϬ               ΨϮ͕ϬϬϬ͕ϬϬϬ                                    Ψϭϰ͕ϰϱϮ͕ϭϰϬ

ŽƌƌŽǁŝŶŐĂƐĞǀĂŝůĂďŝůŝƚǇ͕ďĞĨŽƌĞůŽĐŬΘZĞƐĞƌǀĞƐ          >ŝŶĞĂƉh^                             ΨϴϬ͕ϬϬϬ͕ϬϬϬ                                                              Ψϯϭ͕Ϭϲϴ͕ϭϬϬ
ĚĚ͗ůůŽǁĂďůĞKǀĞƌĂĚǀĂŶĐĞ                                                                                                                                                                   Ϭ
>ĞƐƐ͗>ĞƚƚĞƌƐŽĨƌĞĚŝƚ                                                                                                                                                                      Ϭ
>ĞƐƐ͗ǀĂŝůĂďůŝƚǇůŽĐŬ                                                                                                                                                            ;ϴ͕ϱϳϱ͕ϬϬϬͿ
>ĞƐƐ͗ZŽǇĂůƚǇZĞƐĞƌǀĞͬΘZĞƐĞƌǀĞ                                                                                                                                                  ;ϭ͕ϵϭϱ͕ϰϰϱͿ
>ĞƐƐ͗EŽŶͲsW^ĂůĞƐŝůƵƚŝŽŶZĞƐĞƌǀĞ                                                                                                                                                  ;ϲϭϱ͕ϬϬϬͿ
>ĞƐƐ͗ϮϬй&ƌĞŝŐŚƚĂŶĚƵƚǇZĞƐĞƌǀĞŽŶ/ŶͲdƌĂŶƐŝƚ/Ŷǀ͘                                                                                                                                  ;Ϯ͕ϵϱϭͿ
>ĞƐƐ͗ĂƌĞƐĐƚZĞƐĞƌǀĞ                                                                                                                                                              ;ϱϭϬ͕ϬϬϬͿ
>ĞƐƐ͗/ŶƚĞƌĞƐƚWĂǇŵĞŶƚZĞƐĞƌǀĞͬ>ĞŐĂůZĞƐĞƌǀĞ                                                                                                                                                 Ϭ
>ĞƐƐ͗&ŝĞůĚǆĂŵZĞƐĞƌǀĞ                                                                                                                                                                     Ϭ
dŽƚĂů^ŽƵƌĐĞƐ                                                                                                                                                                    Ψϭϵ͕ϰϰϵ͕ϳϬϰ
'ƌĞĞŶ>ĂŬĞdĞƌŵ>ŽĂŶ                                                                                                                                                                          Ϭ
dŽƚĂů^ŽƵƌĐĞƐ                                                                                                                                                                    Ψϭϵ͕ϰϰϵ͕ϳϬϰ
^ŝĞŶĂZĞǀŽůǀĞƌ                                                                                                                                                                     ϭϵ͕ϰϰϵ͕Ϭϰϯ
>ĞƐƐ͗hŶƐǁĞƉƚĨƵŶĚƐ                                                                                                                                                                          Ϭ
WEdĞƌŵ>ŽĂŶ
ĂƌůǇdĞƌŵŝŶĂƚŝŽŶ&ĞĞ
ĂǀŝĚƐŽŶ&ĞĞ
^>'&ĞĞ
'ƌĞĞŶ>ĂŬĞ&ĞĞ
>ĞŐĂů&ĞĞƐ
dŽƚĂůhƐĞƐ                                                                                                                                                                       Ψϭϵ͕ϰϰϵ͕Ϭϰϯ

ŽƌƌŽǁŝŶŐĂƐĞǀĂŝůĂďŝůŝƚǇ                                                                                                                                                                 ΨϲϲϮ
